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[6ndf1007] [NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING]


                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

In re:                                                                       Case No. 6:13−bk−04331−CCJ
                                                                             Chapter 7


John Northrup
1872 Winding Ridge Circle
Palm Bay, FL 32909




________Debtor*________/

                             NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                AND OPPORTUNITY TO CURE DEFICIENCIES

   NOTICE IS GIVEN THAT the above debtor(s) filed a voluntary petition on April 10, 2013 . Pursuant to the
Federal Rules of Bankruptcy Procedure and the Local Rules for the Middle District of Florida, the clerk has noted
deficiencies to the petition and/or schedules of this debtor as indicated by the box or boxes checked below. The
debtor is provided an opportunity to cure the deficiencies within the time set forth in thr checked paragraphs. This
case may be dismissed without further notice or hearing if the debtor(s) fail to timely correct the noted deficiency.

Note: Only checked boxes need to be addressed.

VOLUNTARY PETITION:

     The voluntary petition does not comply with Official Form B1 as amended. The debtor is directed to file an
Amended Voluntary Petition on Proper Official Form B1 with proper signatures of all parties within 14 days. A link
to the form is available on the Court's website at http://www.uscourts.gov/bkforms/bankruptcy_forms.html.

    Pursuant to Fed. R. Bankr. P. 1005, the Tax Identification Number of the debtor was not provided or is
incomplete on the petition. The debtor is directed to file an amended petition containing a complete Tax Identification
Number of the debtor within 14 days.

    Debtor(s) failed to provide the complete street address of the debtor (or joint debtor, if applicable). This section
cannot be left blank. "None" is not an acceptable answer. The debtor is directed to file an Amended Petition
containing a complete street address for the debtor and/or joint debtor as applicable within 14 days.

    The petition does not contain the original signatures of the debtor, joint debtor or debtor's counsel as required or
the electronic signature is not in compliance with Administrative Order FLMB−2003−4. The debtor is directed to file
an Amended Petition containing the appropriate original signatures or electronic signatures within 14 days.

SOCIAL SECURITY STATEMENT:

     Pursuant to Fed. R. Bankr. P. 1007(f), the debtor has failed to file a verified statement of social security
number(s). The debtor is directed to submit to the clerk within 14 days, a verified statement of social security
number(s) of the debtor and to give notice of the debtor's complete social security number to all creditors and parties
in interest and file with the court proof of service of the notice.
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Debtor(s) Attorneys: If the full social security number was entered when the case was electronically filed, and
the creditors received notice, a certificate of service is not required.

    The verified statement of social security number(s) was filed without an original signature or proper electronic
signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4. The debtor is directed to submit to
the clerk within 14 days, a verified statement of social security number(s) of the debtor(s) containing proper
signatures of all parties or /s/ and the parties' names in accordance with the paragraph number 10 of the
Administrative Order FLMB−2003−4.

SCHEDULES, STATEMENTS AND CERTIFICATION:

     The Summary of Schedules, Statistical Summary of Certain Liabilities and Related Data, Schedules or Statement
of Financial Affairs were not filed or are incomplete or deficient as follows: Summary of Schedules, Statistical
Summary, Schedules A−J, Declaration Concerning Schedules, Statement of Financial Affairs . Pursuant to Fed. R.
Bankr. P. 1007(b) and (c), the debtor is directed to file the missing schedules with proper declaration of the debtor no
later than 14 days from the date the petition was filed. If additional creditors not initially provided with the Petition
are added on the Schedules, the debtor is directed to include $30.00 amendment fee and provide Proof of Service of
the Notice of Commencement to each additional creditor.

A link to updated forms is available on the Court's website at:
http://www.uscourts.gov/bkforms/bankruptcy_forms.html.

     The Statement of Current Monthly Income and Means Test Calculation (Official Form B22A) was either not filed
or filed on an outdated form. The debtor is directed to file the Statement of Current Monthly Income and Means Test
Calculation using the current form within 14 days from the date the petition is filed. A link to updated forms is
available on the Court's website.

STATEMENT OF INTENTION:

    The Statement of Intentions was not filed. The debtor(s) is directed to file a Statement of Intentions no later than
30 days from the petition file date.

LISTS OF CREDITORS:

    The voluntary petition was not accompanied by a list containing the names and addresses of the debtor's creditors
nor were the schedules of liabilities (schedules D through F) filed. The debtor is directed to file a list containing the
names and addresses of the debtor's creditors within 7 days.

    The attorney for the debtor failed to upload creditors during the electronic filing process. The notice of
commencement of case will exclude the creditors. Creditors shall be uploaded within 3 days of receipt of this notice
or sanctions may be imposed. The attorney for the debtor is also directed to serve a copy of the notice of
commencement of case that contains the full social security number of the debtor upon all creditors and file proof of
service of the notice.

FILING FEES:

    The Voluntary Petition was filed without payment of the required filing fee. In addition the debtor has not filed
an application seeking approval to pay the filing fee in installments or (for Chapter 7 cases only), an application
requesting to proceed in forma pauperis. The debtor is directed to pay the required filing fee totaling $306.00 within 7
days from the date of service of this notice. Personal checks will not be accepted from debtors − only money orders or
cashier's check made payable to Clerk, U.S. Bankruptcy Court.

   An Application to Pay Filing Fees in Installments was filed but does not comply with the Official Form as
updated on December 1, 2007. The debtor is directed to either pay the full filing fee or file the appropriate
Application to Pay Filing Fees in Installments within 7 days from the date of service of this notice.

    An Application to Pay Filing Fees in Installments was filed but is not properly signed by the debtor. The debtor is
directed to file an Amended Application to Pay Filing Fees in Installments within 7 days.

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR :
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     The attorney for debtor did not file a Disclosure of Compensation Under 11 U.S.C. Section 329 and Fed. R.
Bankr. P. 2016(b). The attorney for the debtor is directed to file a statement of compensation within 14 days from the
filing of the petition. Failure of attorney for the debtor to cure this deficiency may result in sanctions or the issuance
of a show cause order.

    The petition preparer did not file a declaration under penalty of perjury disclosing any fee received from or on
behalf of the debtor with 12 months prior to filing the case. The petition preparer is directed to file a statement of
compensation within 14 days from the filing of the petition. Failure of petition preparer to cure this deficiency may
result in sanctions or the issuance of a show cause order.

CORPORATE OWNERSHIP STATEMENT:

   A Corporate Ownership Statement was not filed pursuant to Fed. R. Bankr. P. 1007(a)(1) and Fed. R .Bankr. P.
7007.1. The Debtor is directed to file a Corporate Ownership Statement within 14 days.

        DATED on April 11, 2013

                                          FOR THE COURT
                                          Lee Ann Bennett , Clerk of Court
                                          George C. Young Federal Courthouse
                                          400 West Washington Street
                                          Suite 5100
                                          Orlando, FL 32801
